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 15
                            UNITED STATES DISTRICT COURT
 16
                         SOUTHERN DISTRICT OF CALIFORNIA
 17
      IN RE:                           Case No. 3:17-CV-00108-GPC-MDD
 18
      QUALCOMM LITIGATION,             [Consolidated with 3:17-CV-01010-GPC-MDD]
 19
 20                                    JOINT STIPULATION AND [PROPOSED]
                                       ORDER TO DISMISS
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 22                                    Judge:      Hon. Gonzalo P. Curiel
                                       Dept:       2D
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      Joint Stipulation and [Proposed] Order to            Case No. 3:17-CV-00108-GPC-
      Dismiss                                                                     MDD
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124718 Page 2 of 8




  1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
  2   Apple Inc., Qualcomm Inc., Compal Electronics, Inc., FIH Mobile LTD., Hon Hai
  3   Precision Industry Co., Ltd., Pegatron Corp., and Wistron Corp. (together, the
  4   “Parties”), by and through their respective counsel, hereby stipulate to dismissal
  5   with prejudice of all claims, counterclaims, and defenses in this action in
  6   consideration of confidential settlement agreements among the Parties, with each
  7   party to bear its own attorneys’ fees and costs.
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  9
 10   Dated: April 24, 2019          Respectfully submitted,
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      Joint Stipulation and [Proposed] Order to 1 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124719 Page 3 of 8



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                                INDUSTRY CO., LTD., PEGATRON CORPORATION,
 21                             WISTRON CORPORATION
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      Joint Stipulation and [Proposed] Order to 2 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124720 Page 4 of 8



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      Joint Stipulation and [Proposed] Order to 3 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124721 Page 5 of 8




  1
  2                                FILER’S ATTESTATION

  3         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  4   Policies and Procedures of the United States District Court of the Southern District
  5   of California, I certify that authorization for the filing of this document has been
  6   obtained from each of the other signatories shown above and that all signatories
  7   have authorized placement of their electronic signature on this document.
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      Dated: April 24, 2019                   /s/ Evan R. Chesler
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       Joint Stipulation and [Proposed] Order to 1 Case No. 3:17-CV-00108-GPC-MDD
       Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124722 Page 6 of 8




  1                             CERTIFICATE OF SERVICE
            The undersigned hereby certifies that a true and correct copy of the above and
  2
      foregoing document has been served on April 24, 2019, to all counsel of record who
  3
      are deemed to have consented to electronic service via the Court’s CM/ECF system
  4
      per Civil Local Rule 5.4. Any other counsel of record will be served by electronic
  5
      mail, facsimile and/or overnight delivery.
  6
            Executed on April 24, 2019, at New York, New York.
  7
  8
                                          /s/ Evan R. Chesler
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      Joint Stipulation and [Proposed] Order to 2 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124723 Page 7 of 8




  1                      UNITED STATES DISTRICT COURT
  2                    SOUTHERN DISTRICT OF CALIFORNIA
  3                                Case No. 3:17-CV-00108-GPC-MDD
      IN RE:
  4
      QUALCOMM LITIGATION,         [Consolidated with 3:17-CV-01010-GPC-MDD]
  5
  6                                [PROPOSED] ORDER TO DISMISS

  7                                Judge:     Hon. Gonzalo P. Curiel
                                   Dept:      2D
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      Joint Stipulation and [Proposed] Order to 1 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
Case 3:17-cv-00108-GPC-MDD Document 1187 Filed 04/24/19 PageID.124724 Page 8 of 8




  1         On April 24, 2019, the parties filed a joint stipulation to dismiss this action
  2   with prejudice pursuant to Federal Rules of Civil Procedure 41(a)(1). Good cause
  3   appearing, the Court GRANTS the joint motion and DISMISSES WITH
  4   PREJUDICE this action in its entirety. Each party must bear its own attorneys’
  5   fees and costs. The Clerk of the Court is instructed to close the case.
  6
  7      IT IS SO ORDERED.
  8
       Dated: __________
  9
                                           Hon. Gonzalo P. Curiel
 10                                        United States District Judge
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      Joint Stipulation and [Proposed] Order to 2 Case No. 3:17-CV-00108-GPC-MDD
      Dismiss
